     Case 4:14-cv-00029-JLK-RSB       Document 30    Filed 02/19/15     Page 1 of 1
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                                                                              AT DANVILLE,VA
                                                                                   FILED

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                IN TH E U N ITE D STA T E S DISTR IC T C O U R T           uuw       0       ,
               FOR THE W ESTERN DISTRICT OFVIRGINIA at,                          .



                             DANVILLE DIVISION                                           LE

A .C.FURN ITURE,lN C.,

            Plaintiff,                               C ase N o.:4:14C V 00029

V.                                                            O RDER

A RB Y 'S RE STA U R AN T      G R O U P,            B y:H on.Jackson L .K iser
lN C .,                                              Senior U .S.D istrictJudge
             D efendant.


      ThiscaseisbeforetheCourton theparties'(291NoticeofDismissalwithout

Prejudicefiled pursuantto Fed.R.Civ.P.4l(a)(1)(A)(ii).Pursuanttothetermsof
theNotice,itisORDERED thatthisaction isdismissed withoutprejudiceand the
clerk isdirected to close the case.

                                              ENTER :February 19,2015

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                                             N
                                               Seni United StatesD istrictJudge
